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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

HUNT CONSTRUCTION GROUP, INC.,                    §
  an Indiana corporation,                         §
                                                  §
      Plaintiff,                                  §
v.                                                §    CIVIL ACTION NO. 1:17-cv-00215-LY
                                                  §
COBB MECHANICAL CONTRACTORS,                      §
INC.,                                             §
  a Colorado corporation                          §
                                                  §
      Defendant,                                  §
and                                               §
                                                  §
LIBERTY MUTUAL INSURANCE                          §
COMPANY,                                          §
  a Massachusetts corporation                     §
                                                  §
      Defendant / Counter-Claimant.               §

                          ADVISORY TO THE COURT BY LIBERTY

        Liberty Mutual Insurance Company (“Liberty”) filed the 26(f) conference report after the

parties conferred by a series of emails. Liberty wanted to confer orally, and requested on numerous

occasions that the parties agree to confer orally. Cobb Mechanical Contractors (“Cobb”), however,

said that it will not confer orally because of its preference for arbitration. Hunt Construction Group,

Inc. (“Hunt”) understandably said it will not confer orally unless all parties are present for the

conference. Accordingly, Liberty created a 26(f) conference in an email thread between all parties,

and received feedback and input from Hunt, which is included in the 26(f) report.

        The dates in the order proposed by Liberty were generally earlier than the dates proposed

by Hunt. In communications with Cobb, Cobb indicated that the later dates proposed by Hunt were

more acceptable, and, accordingly, in general, Liberty utilized the later dates, as indicated as a

preference by Hunt and concurred in by Cobb. There are a few areas, such as the disclosures and


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commencement of discovery, where the parties are not in agreement. In particular, Liberty wants

discovery (including disclosures as required by the Federal Rules) to move forward now. Hunt and

Cobb do not concur. Accordingly, Liberty anticipates Hunt and/or Cobb may file a Rule 26(c)

motion to stay discovery. Liberty understands Cobb may reserve its rights and request a ruling

from the Court on a motion moving forward. Liberty also understands that Hunt has a preference

for an oral Rule 26(f) conference.

        Liberty is willing to confer orally, or in any way the Court instructs. Liberty also requested

a Rule 16 conference to discuss these issues, which was denied by Magistrate Judge Austin (dkt.

31, pg. 3, fn 1). Liberty then called the clerk of Judge Yeakel, who directed Liberty to proceed

with filing a proposed scheduling order. Accordingly, that is what Liberty has done.

        The case was filed on March 7, 2017. Liberty respectfully requests that the Court enter the

proposed scheduling order, as modified if the Court deems it appropriate, and Liberty requests a

Rule 16 conference at such time as the Court deems that appropriate. Alternatively, Liberty

requests the Court order the parties orally confer by a date certain. Liberty needs the initial

disclosures and discovery to commence so that the case can proceed per Rule 1 in a just, speedy,

and efficient fashion.

                                               Respectfully submitted,

                                               LANGLEY LLP


                                               By:      /s/ Keith A. Langley
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                                             ATTORNEYS FOR LIBERTY MUTUAL
                                             INSURANCE COMPANY


                                   CERTIFICATE OF CONFERENCE

         I certify that on May 26, 2017; June 2, 2017; June 6, 2017; June 7, 2017; June 8, 2017;
June 12, 2017; June 13, 2017; June 16, 2017; June 20, 2017; and June 23, 2017, I conferred with
counsel for Cobb and Hunt regarding the Rule 26(f) conference, and counsel for Cobb stated that
it is opposed.



                                                      /s/ Keith A. Langley
                                                     Keith A. Langley

                                   CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing is to be delivered to the following
parties in accordance with the Federal Rules of Civil Procedure on the 23rd day of June, 2017.

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                                            /s/ Keith A. Langley
                                           Keith A. Langley




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